Case 5:19-po-00960-KHR Document 14 Filed 09/24/19 Page 1of1

FILED
U.S. DISTRICT COURT

THOMAS SZOTT DISTRICT OF WYOMING
Assistant United States Attorney

Wyoming Bar Number 7-5139 SEP 2 4 2019

P.O. Box 668 [EYP ort
Cheyenne, WY 82003 a H acd Clerk

(307) 772-2124
Thomas.Szott(@usdoj.gov

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF WYOMING
UNITED STATES OF AMERICA,

Plaintiff, Criminal No. _|4-(0-9b0-C

Vv.

JOSHUA JAMES MJONESS,

 

Defendant.

 

Motion to Dismiss Violation Notices Without Prejudice

 

The United States hereby moves to dismiss the following Violation Notices without
prejudice: WYNP9114579, WYNP9114580, WYNP9114582, WYNP9114583, and
WYNP9114584. The United States seeks dismissal of these citations in light of the felony
charges in 18-mj-82-J.

DATED this 24th day of September, 2019.

Respectfully submitted,

MARK A. KLAASSEN
United States Attorney

THOMAS SZOTT
Assistant United States Attorney
